Case 1:23-cv-00108-LMB-JFA Document 630-13 Filed 05/16/24 Page 1 of 6 PageID# 12156




              EXHIBIT 11
Case 1:23-cv-00108-LMB-JFA Document 630-13 Filed 05/16/24 Page 2 of 6 PageID# 12157

                                 HIGHLY CONFIDENTIAL

                                                                    Page 1

   1
   2                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
   3                             ALEXANDRIA DIVISION
                  _____________________
   4
                  UNITED STATES,       )1:23-cv-00108-LMB-JFA
   5              et al.,              )
                                       )
   6                  Plaintiffs,      )
                                       )
   7              vs.                  )
                                       )
   8              GOOGLE LLC,          )
                                       )
   9                  Defendant.       )
                  _____________________)
  10
  11
  12                            - HIGHLY CONFIDENTIAL -
  13
                              VIDEOTAPED DEPOSITION OF
  14
                                 COLONEL LENNOX MORRIS
  15
                                    September 1, 2023
  16
                                          9:06 a.m.
  17
  18
  19
  20
  21
                  Job No. CS6074135
  22              Reported by: Bonnie L. Russo

                                   Veritext Legal Solutions
       800-567-8658                                                    973-410-4098
Case 1:23-cv-00108-LMB-JFA Document 630-13 Filed 05/16/24 Page 3 of 6 PageID# 12158

                                                     HIGHLY CONFIDENTIAL
                                                            Page 2                                                                   Page 4
       1     Videotaped Deposition of Colonel Lennox Morris           1             INDEX
                                                                      2   EXAMINATION OF COLONEL LENNOX MORRIS                    PAGE
       2     held at:                                                 3   BY MS. GOODMAN                          8
       3                                                              4                           293
                                                                      5   BY MR. McBIRNEY                     293
       4
                                                                      6
       5                                                              7
       6       Paul Weiss Rifkind Wharton & Garrison, LLP                           EXHIBITS
                                                                      8
       7       2001 K Street, N.W.
                                                                      9   Exhibit 63 E-Mail dated 4-25-22         178
       8       Washington, D.C.                                                 Attachment
       9                                                             10         ARMY-ADS-0000329948-970
                                                                     11   Exhibit 87 E-Mail Chain dated 3-10-22       52
      10                                                                        Attachment
      11                                                             12         ARMY-ADS-0000070535-547

      12                                                             13   Exhibit 88 E-Mail dated 10-21-21        98
                                                                                Attachment
      13                                                             14         ARMY-ADS-0000177268-490
      14                                                             15   Exhibit 89 E-Mail dated 3-15-22         160
                                                                                Attachment
      15
                                                                     16         ARMY-ADS-0000135957-958
      16                                                             17   Exhibit 90 E-Mail Chain dated 9-30-22       196
      17                                                                        Attachment
                                                                     18         ARMY-ADS-0000186428-431
      18     Pursuant to Notice, when were present on behalf
                                                                     19   Exhibit 91 E-Mail dated 9-24-21         207
      19     of the respective parties:                                         Attachment
      20                                                             20         ARMY-ADS-0000179830-831
                                                                     21   Exhibit 92 E-Mail Chain dated 4-11-22       215
      21                                                                        Attachment
      22                                                             22         ARMY-ADS-0000060557-559

                                                      Page 3                                                                         Page 5
        1   APPEARANCES:                                              1   EXHIBITS (CONTINUED):
        2   On behalf of the Plaintiffs:                              2   Exhibit 93 E-Mail Chain dated 4-11-22             218
        3    JIMMY McBIRNEY, ESQUIRE                                             ARMY-ADS-0000155603-604
             CHASE PRITCHETT, ESQUIRE                                 3
        4    ALVIN CHU, ESQUIRE                                           Exhibit 94 E-Mail Chain dated 9-27-21             224
             KATHERINE E. CLEMONS, ESQUIRE (Via Remote)               4          Attachment
        5    UNITED STATES DEPARTMENT OF JUSTICE                                 ARMY-ADS-0000071884-947
             450 Fifth Street, N.W., Suite 700                        5
        6    Washington, D.C. 20530                                       Exhibit 95 E-Mail dated 12-13-22      229
             jimmy.mcbirney@usdoj.gov                                 6          ARMY-ADS-0000126052
        7    chase.pritchett@usdoj.gov                                7   Exhibit 96 E-Mail Chain dated 11-30-21 248
             alvin.chu@usdoj.gov                                                 Attachment
        8    katherine.clemons@usdoj.gov                              8          ARMY-ADS-0000176297-415
                                                                      9   Exhibit 97 Budget Order Accepted       264
        9   On behalf of the Defendant:
                                                                                 OMD_000422
       10    MARTHA L. GOODMAN, ESQUIRE
                                                                     10
             LEAH HIBBLER, ESQUIRE
                                                                          Exhibit 98 Handwritten Notes 295
       11    PAUL, WEISS, RIFKIND,
                                                                     11          (RETAINED BY WITNESS)
             WHARTON & GARRISON, LLP
                                                                                 (TO BE ATTACHED)
       12    2001 K Street, N.W.
                                                                     12
             Washington, D.C. 20006                                       Exhibit 99 Solicitation, Offer 308
       13    mgoodman@paulweiss.com                                  13          and Award
             lhibbler@paulweiss.com                                              1-3-17
       14                                                            14          ARMY-ADS-0000245462-462_134
       15                                                            15
       16                                                            16   PREVIOUSLY MARKED EXHIBITS:
            Also Present:                                            17   Exhibit 63 E-Mail dated 4-25-22
       17   Orson Braithwaite, Videographer                                      Attachment
            Mohamed Al-Darsani, United States Army                   18          ARMY-ADS-0000329948-970
       18                                                            19   Exhibit 64 E-Mail dated 3-3-22
       19                                                                        Attachment
       20                                                            20          ARMY-ADS-0000187047-077
       21                                                            21
       22                                                            22   (Exhibits bound separately.)

                                                                                                                            2 (Pages 2 - 5)
                                                      Veritext Legal Solutions
      800-567-8658                                                                                                          973-410-4098
Case 1:23-cv-00108-LMB-JFA Document 630-13 Filed 05/16/24 Page 4 of 6 PageID# 12159

                                          HIGHLY CONFIDENTIAL
                                                    Page 6                                                                 Page 8
       1         PROCEEDINGS                                 1           COLONEL LENNOX MORRIS,
       2          (9:06 a.m.)                                2   being first duly sworn, to tell the truth, the
       3                                                     3   whole truth and nothing but the truth,
       4            THE VIDEOGRAPHER: Good morning. 4            testified as follows:
       5           We are going on the record at            5        EXAMINATION BY COUNSEL FOR DEFENDANT
       6   a.m. on September 1, 2023.                       6           BY MS. GOODMAN:
       7          Please note that the microphones are      7      Q.    Good morning.
       8   sensitive and may pick up whispering and         8      A.    Good morning.
       9   private conversations. Please mute your phones   9      Q.    Have you ever been deposed before?
      10   at this time. Audio and video-recording will    10      A.    I have not been deposed before.
      11   continue to take place unless all parties agree 11      Q.    Some few basic rules of the
      12   to go off the record.                           12    deposition I wanted to go over with you. Okay?
      13          This is Media Unit 1 of the              13      A.    Okay.
      14   video-recorded deposition of Colonel Lennox     14      Q.    Please let me finish my question
      15   Morris in the matter of United States, et al.   15    before you begin your answer because the court
      16   versus Google LLC filed in the United States    16    reporter cannot transcribe people talking at
      17   District Court for the Eastern District of      17    the same time. Okay?
      18   Virginia, Alexandria Division, Case Number      18      A.    Okay.
      19   1:23-cv-00108-LMB-JFA.                          19      Q.    Please provide verbal answers as
      20          My name is Orson Braithwaite             20    opposed to head nods or uh-huh, uh-uh, which do
      21   representing Veritext Legal Solutions and I am  21    not -- the meanings do not come across on a
      22   the videographer. The court reporter is Bonnie  22    written transcript. Okay?

                                                    Page 7                                                                 Page 9
       1   Russo from the firm Veritext Legal Solutions.    1        A. Understood.
       2         Counsel will now state their               2        Q. If you don't understand my question
       3   appearances and affiliations for the record.     3     please let me know. Otherwise, I will assume
       4         MS. GOODMAN: Martha Goodman from 4               you understand it. Okay?
       5   Paul Weiss on behalf of Defendant Google LLC. 5           A. Understood.
       6         MR. McBIRNEY: Jim McBirney from the 6               Q. Okay. And can you be sure to speak
       7   Department of Justice --                         7     up a little bit so that the court reporter and
       8         MS. GOODMAN: Sorry.                        8     everybody in the room can hear you?
       9         MR. McBIRNEY: Oh, I'm sorry.               9        A. Can you hear me?
      10         MS. GOODMAN: Leah Hibbler, my             10        Q. Yes.
      11   colleague from Paul Weiss on behalf of Google. 11         A. Okay.
      12         MR. McBIRNEY: Good morning, Jim           12        Q. Is there any reason you are unable
      13   McBirney on behalf of the United States and the 13     to provide accurate testimony here today?
      14   witness.                                        14        A. There is no reason I am unable to
      15         MR. PRITCHETT: Chase Pritchett on         15     provide accurate testimony.
      16   behalf of the United States.                    16        Q. And what did you -- what did you do
      17         MR. CHU: Alvin Chu on behalf of the       17     to prepare for this deposition?
      18   United States.                                  18        A. To prepare for this deposition I
      19         MR. AL-DARSANI: Mohamed Al-Darsani 19            flew here to D.C. from Louisville, met with
      20   on behalf of the United States Army.            20     counsel for the government.
      21         THE VIDEOGRAPHER: Thank you. Will 21                Q. How many times did you meet with
      22   the court reporter please swear in the witness. 22     counsel for the government?

                                                                                                                  3 (Pages 6 - 9)
                                            Veritext Legal Solutions
      800-567-8658                                                                                                973-410-4098
Case 1:23-cv-00108-LMB-JFA Document 630-13 Filed 05/16/24 Page 5 of 6 PageID# 12160

                                          HIGHLY CONFIDENTIAL
                                                   Page 206                                                       Page 208
       1   have been that time frame.                          1     Q.     No, I am not.
       2      Q. Okay. Do you know what other                  2     A.     All right.
       3   providers were being used -- programmatic           3     Q.     Okay. We tried to print it
       4   platform providers were being used in the 2021      4   differently, but sometimes instructions get
       5   time frame?                                         5   lost.
       6      A. Not specifically, ma'am.                      6           This is an e-mail you received from
       7      Q. Why, to your knowledge, did the               7   Kelly Kapshandy on September 24, 2021, correct?
       8   programmatic investments shift more to the          8     A.     I received this e-mail from Kelly
       9   Google product in this case to your knowledge?      9   Kapshandy, OMD, on September 24, 2021.
      10          MR. McBIRNEY: Object to form.               10     Q.     Who is Kelly Kapshandy?
      11          THE WITNESS: To the best of my              11     A.     The name is familiar. I can't tell
      12   knowledge, that change would have been             12   you her official title.
      13   consistent with our previous discussions in        13     Q.     Do you know what role, if any, she
      14   terms of which platforms were the most             14   has with respect to the army's media purchases?
      15   efficient for the army's dollar.                   15     A.     I can't speak to that specifically,
      16          BY MS. GOODMAN:                             16   no.
      17      Q. So is it accurate to say that the            17     Q.     And she is attaching a Q3, FY21 MMM
      18   army's investment in programmatic display          18   national paid media quarterly optimization
      19   advertising shifted more to Google because         19   tracker, yes?
      20   Google was performing better for the army than     20     A.     She has attached MMM follow-up,
      21   any other programmatic provider?                   21   three tabs, MMM optimization tracker, a MMM Q3
      22          MR. McBIRNEY: Object to form.               22   media cost per contract, and an MMM paid media
                                                   Page 207                                                       Page 209
       1          THE WITNESS: I would maintain my             1   channel performance by quarter.
       2   answer previously, that the efficiency of that      2      Q. Is this a document that -- a kind of
       3   platform was more beneficial to the army than       3   document that you would routinely receive from
       4   other channels -- I'm sorry. Than other             4   somebody at OMD or DDB?
       5   platforms.                                          5          MR. McBIRNEY: Objection. Vague.
       6          BY MS. GOODMAN:                              6          THE WITNESS: The purpose of this
       7      Q. And when you say "efficiency," you            7   document was to have a more simplified visual
       8   mean the efficiency of Google's programmatic        8   of the quarter-over-quarter changes that we
       9   platform was more beneficial to the army than       9   executed based on the MMM as opposed to the
      10   other programmatic platforms; is that accurate?    10   larger decks that we have looked at for the Q4,
      11          MR. McBIRNEY: Objection. Form and           11   '21 and Q1, '22.
      12   asked and answered.                                12          BY MS. GOODMAN:
      13          THE WITNESS: I really don't have a          13      Q. And when you're seeing the more
      14   change to what I just stated, ma'am.               14   simplified visuals of quarter-over-quarter
      15          MS. GOODMAN: Can I have Exhibit 47.         15   changes that were executed based on the MMM,
      16          (Deposition Exhibit 91 was marked           16   does that include the day-to-day, hour-by-hour
      17   for identification.)                               17   optimizations made by DDB and OMD as well?
      18          BY MS. GOODMAN:                             18          MR. McBIRNEY: Objection.
      19      Q. I'm handing you Exhibit 91,                  19   Foundation.
      20   ARMY-ADS-179830 through 179831.                    20          THE WITNESS: This document includes
      21      A. Are you going to ask me to read the          21   the optimizations that were recommended and
      22   last page?                                         22   approved by the army in conjunction with the

                                                                                                   53 (Pages 206 - 209)
                                             Veritext Legal Solutions
      800-567-8658                                                                                          973-410-4098
Case 1:23-cv-00108-LMB-JFA Document 630-13 Filed 05/16/24 Page 6 of 6 PageID# 12161

                                           HIGHLY CONFIDENTIAL
                                                    Page 314                                                       Page 316
       1          And, again, we will simply reiterate          1              CERTIFICATE OF NOTARY PUBLIC
       2   that the 30(b)(6) portion was not prepared to        2           I, Bonnie L. Russo, the officer before
       3   start until after 6:00 p.m., and unfortunately,      3     whom the foregoing deposition was taken, do
       4   the witness was not prepared to go this late         4     hereby certify that the witness whose testimony
                                                                5     appears in the foregoing deposition was duly
       5   into the evening, and that was unexpected. But
                                                                6     sworn by me; that the testimony of said witness
       6   that's where we are.
                                                                7     was taken by me in shorthand and thereafter
       7          MS. GOODMAN: And I will also note             8     reduced to computerized transcription under my
       8   for the record that the witness took an hour         9     direction; that said deposition is a true
       9   dinner break when everybody else was prepared       10     record of the testimony given by said witness;
      10   to move forward into the 30(b)(6) at the            11     that I am neither counsel for, related to, nor
      11   conclusion of the day.                              12     employed by any of the parties to the action in
      12          MR. McBIRNEY: And I will simply              13     which this deposition was taken; and further,
      13   note that that is because the witness believed      14     that I am not a relative or employee of any
      14   that having a dinner break would be helpful for     15     attorney or counsel employed by the parties
      15   his ability to testify.                                    hereto, nor financially or otherwise interested
                                                               16     in the outcome of the action.
      16          Evidently, that has not been how
                                                               17
      17   things were borne out, but that is why the
                                                               18
      18   witness had a reasonable dinner hour, asked to                     <%11937,Signature%>
      19   have dinner before beginning a 30(b)(6) that        19            Notary Public in and for
      20   could go as late as three hours longer, which       20            the District of Columbia
      21   at that point would have been 9:00 with no          21     My Commission expires: August 14, 2024.
      22   food.                                               22
                                                    Page 315                                                       Page 317
       1          MS. GOODMAN: Well, I offered you              1 Jimmy McBirney Esq
       2   snacks, as you recall, and the snacks are here       2 jimmy.mcbirney@usdoj.gov
                                                                3                  September 6th, 2023
       3   in the room, including Kind bars and popcorn
                                                                4 RE: United States, Et Al v. Google, LLC
       4   and Zbars and some super foods called almonds
                                                                5     9/1/2023, Lennox Morris (#6074135)
       5   and cashews and peanuts.                             6     The above-referenced transcript is available for
       6          MR. McBIRNEY: Let the record                  7 review.
       7   reflect that I am noticing for the first time,       8     Within the applicable timeframe, the witness should
       8   as flagged by counsel, that there Zbars,             9 read the testimony to verify its accuracy. If there are
       9   peanuts, and snacks characterized by counsel as     10 any changes, the witness should note those with the
                                                               11 reason, on the attached Errata Sheet.
      10   "super foods" of some sort.
                                                               12     The witness should sign the Acknowledgment of
      11          MS. GOODMAN: All right.
                                                               13 Deponent and Errata and return to the deposing attorney.
      12          THE VIDEOGRAPHER: The time is                14 Copies should be sent to all counsel, and to Veritext at
      13   p.m. we are off the record.                         15 (erratas-cs@veritext.com).
      14          (Whereupon, the proceeding was               16
      15   adjourned at 7:56 p.m.)                             17 Return completed errata within 30 days from
      16                                                       18 receipt of testimony.
      17                                                       19 If the witness fails to do so within the time
                                                               20 allotted, the transcript may be used as if signed.
      18
                                                               21
      19
                                                               22            Yours,
      20                                                       23            Veritext Legal Solutions
      21                                                       24
      22                                                       25

                                                                                                 80 (Pages 314 - 317)
                                             Veritext Legal Solutions
      800-567-8658                                                                                        973-410-4098
